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     UNITED STATES DISTRICT COURT
   NORTHERN DISTRICT OF CALIFORNIA                                         BILL OF COSTS                                                           C O U R T US E O N L Y
                                                                                                                                    OBJECTION DEADLINE:
      Form CAND 133 (Rev. 2/2017)                   Please follow the instructions on page 3 when completing this form.
                                                                                                                                    OBJECTION FILED: YES X              NO 

1. CASE NAME                                                   2. CASE NUMBER                  3. DATE JUDGMENT ENTERED            4. PARTY AGAINST WHOM JUDGMENT WAS ENTERED
JEREMIAH REVITCH V. NEW MOOSEJAW, LLC, et al.,                 3:18-cv-06827-VC                June 10, 2021                       JEREMIAH REVITCH



5. NAME OF CLAIMING PARTY                                      6. NAME OF ATTORNEY FOR CLAIMING PARTY (or indicate “PRO SE”)       7. PHONE AND EMAIL OF CLAIMING PARTY, IF PRO SE
NAVISTONE, INC.                                                DAVID SWETNAM-BURLAND



8. REQUEST TO TAX THE FOLLOWING AS COSTS:                                                                                  (SHADED AREAS ARE FOR COURT USE ONLY)

             COST ITEM                  AMOUNT CLAIMED        LIST SUPPORTING DOCUMENTATION                Amt Allowed           Disallowed              Disallowance Reason
                                                                                                                                                             Code/Notes
 a. FEES OF THE CLERK AND FOR SERVICE OF PROCESS
  Filing Fees and Docket Fees,                     N/A
  Civil LR 54-3(a)(1), 18 U.S.C.
  1923

  Service of Process, Civil LR 54-                 N/A
  3(a)(2)

 b. REPORTERS’ TRANSCRIPTS

  Transcripts for appeal, Civil LR                 N/A
  54-3(b)(1)

  Rulings from the bench, Civil LR                 N/A
  54-3(b)(2)

  Other transcripts (by order or                   N/A
  stipulation), Civil LR 54-3(b)(3)

 c. DEPOSITIONS

  Deposition transcript/video                $33,448.75   Declaration of David Swetnam-Burland, Ex. A,   30570.45              2878.30             E: Expedited copies and real
  recording, Civil LR 54-3(c)(1)                          Veritext Expenses.                                                                             time not recoverable.

  Deposition exhibits, Civil LR 54-
  3(c)(3)

  Notary & reporter attendance                     N/A
  fees, Civil LR 54-3(c)(4),(5)

 d. REPRODUCTION, EXEMPLIFICATION

  Government records, Civil LR                     N/A
  54-3(d)(1)

  Disclosure/formal discovery                $29,275.00   Declaration of David Swetnam-Burland, Ex. B,   29275.00
  documents, Civil LR 54-3(d)(2)                           Everlaw Expenses.

  Trial exhibits, Civil LR 54-3(d)(4)              N/A
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  Visual aids, Civil LR 54(d)(5)                         N/A

 e. WITNESS FEES AND EXPENSES

  Total from itemized Witness                            N/A
  Fees worksheet,* Civil LR 54(e)

 f. COURT-APPOINTED PROFESSIONALS, INTERPRETERS

  Fees for special masters &                             N/A
  receivers, Civil LR 54-3(f)

  Court-appointed experts,                               N/A
  28 USC § 1920(6)

  Interpreters and special                               N/A
  interpretation services, 28 USC
  §§ 1828, 1920(6)

 g. MISCELLANEOUS COSTS

  Costs on appeal, Civil LR 54-                          N/A
  3(g) & FRAP 39

  Costs of bonds and security,                           N/A
  Civil LR 54-3(h)

 TOTAL AMOUNT                                 $62,723.75                                                          $59,845.45                $2,878.30

9. ADDITIONAL COMMENTS, NOTES, ETC:


10. AFFIDAVIT PURSUANT TO 28 USC § 1924: I declare under penalty of perjury that the foregoing             11. Costs are taxed in the amount of $59,845.45,        and included in the judgment.
costs are correct and were necessarily incurred in this action and that the services for which fees have
been charged were actually and necessarily performed.                                                      Mark B. Busby,
Name of Attorney/Claiming Party:                                                                           Clerk of Court

SIGNATURE: /s/ David Swetnam-Burland                                        DATE: June 24, 2021            BY:                                    , Deputy Clerk               DATE: May 3, 2022



                                                 *WITNESS FEES/EXPENSES COMPUTATION WORKSHEET FOR ITEM 8.e OF REQUEST TO TAX COSTS (28 USC 1821)

                                                                                   ATTENDANCE                               SUBSISTENCE                          TRAVEL/MILEAGE               TOTAL COST
         WITNESS NAME , CITY AND STATE OF RESIDENCE                              # Days               $ Cost            # Days               $ Cost      Travel Cost or                            Per Witness
                                                                                                                                                                                $ Cost
                                                                                                                                                           # Miles POV
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                                         TOTAL WITNESS FEES/EXPENSES   $ 0.00
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CAND 133
(Rev. 02/2017)                                                                INSTRUCTIONS
GENERAL INSTRUCTIONS
Use this form CAND 133 in the Northern District of California in lieu of AO 133 when seeking to tax costs under Fed. R. Civ. P. 54(d)(1) and Civil L.R. 54. For applicable
deadlines, see Civil L.R. 54.
  ▪ On the cost table (Item 8), in the column for “List Supporting Documentation,” specifically cross-reference the documentation you are submitting for that item (example:
    Declaration of Jessica Smith, Ex 1 (invoice from ABC Graphics)). Use as much space as necessary to identify supporting documentation.
  ▪ Attach to your bill an itemization and documentation for requested costs in all categories.
  ▪ Each stipulation or order in the case regarding the formats for discovery of documents and electronically stored information, or relating to any other cost item, should be
    attached to the bill and referenced as “supporting documentation” next to each item to which it relates.
  ▪ Enter the amounts claimed for each item in the “amount claimed” column; for witness fees/expenses (Item 8(e)), enter the total from the Witness Fees/Expenses
    Computation Worksheet on page 2. To automatically calculate the total amount after entering all cost items, highlight the dollar amount on the last line of the AMOUNT
    CLAIMED column, and (i) right-click and select Update Field, or (ii) press F9. The total amount can also be entered manually.
  ▪ Affidavit (Item 10) must be signed by attorney acting for the party claiming costs.
FILING INSTRUCTIONS
  ▪ Completed cost bill must be submitted to court in two ways: (1) pages 1-2 must be saved as a PDF and e-filed in the case docket via the Court’s Case
    Management|Electronic Case Filing (“CM|ECF”) system along with all supporting documentation; and (2) a copy of the Word document (.doc or .docx) must be
    submitted by email to costbills@cand.uscourts.gov. A chambers copy must also be submitted pursuant to Civil L.R. 5-1(e)(7).
  ▪ If this bill of costs is not electronically served, a certificate of service must be filed pursuant to Civil L.R. 5-5.
WITNESS FEES/EXPENSES COMPUTATION WORKSHEET: INSTRUCTIONS
  ▪ Travel in a privately owned vehicle (“POV”) is computed at federal government rates in the year of travel. Visit gsa.gov for current POV mileage reimbursement rate.
  ▪ For mileage claims, distances should be documented (through Google maps or similar); point of trip origin should be documented, if different from place of residence.
  ▪ Subsistence expenses (including lodging and meals) for overnight stay (if required due to distance) are allowed but may not exceed maximum per diem allowance for
    federal government employees. View gsa.gov lodging per diem rates. View gsa.gov meals and incidental expenses per diem rates.
  ▪ If there are more than 5 witnesses, additional lines may be added to the Worksheet and the total amount of Witness Fees/Expenses must be entered manually.
REPRODUCTION & EXEMPLIFICATION: GUIDANCE RE: ELECTRONIC DISCOVERY
  ▪ While there may be special circumstances in individual cases, the following kinds of document production costs are generally considered taxable unless a stipulation or
    order in the case provides otherwise:
     Auto feed scanning of hard copy documents            Document coding                                         Image endorsing (electronic labeling or numbering)
     Bates stamp                                          ED deliverables                                         Load file creation
     Blowback scanning of paper documents                 Electronic label/Bates numbering                        Metadata extraction
     Conversion of native files to different format       External hard drive used for production; copying        OCR (optical character recognition)
         for production                                      files to storage media for production                Slip sheets
     Data archive                                         Heavy litigation scanning                               TIFF conversion
REASON CODES FOR CLERK’S DISALLOWANCE OF CLAIMED COSTS
    “A” ― No supporting documentation provided.
    “B” ― Supporting documentation does not support full amount claimed.
    “C” ― Disallowed as excessive expense (28 USC §1821(c)(1))
    “D” ― Disallowed as unrecoverable under 28 USC §1920.
    “E” ― Disallowed amount is outside the ambit of Civil Local Rule 54-3.
